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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                    Case No. 8:17-cr-407-T-33TGW

   IGNACIO AVILES

                                    /

                                   ORDER

         This matter comes before the Court upon consideration of

   pro se Defendant Ignacio Aviles’s “Motion to Request Two Level

   Reduction Under U.S.S.G. § 3B1.2(b)” (Doc. # 73), filed on

   September 17, 2020. The United States responded on October

   13, 2020. (Doc. # 76). For the reasons set forth below, the

   Motion is denied.

   I.    Background

         On January 23, 2018, the Court sentenced Aviles to 108

   months’ imprisonment for conspiracy to possess with intent to

   distribute five kilograms or more of cocaine while on board

   a vessel subject to the jurisdiction of the United States in

   violation of 46 U.S.C. §§ 70503(a)(1) and 70506(a) and (b)

   and 21 U.S.C. § 960(b)(1)(B)(ii). (Doc. # 68).

         In the Motion, Aviles requests that the Court “modify

   his sentence and apply a two offense level reduction in his

   case” under U.S.S.G. § 3B1.2(b), Amendment 794. (Doc. # 73).



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   The United States has responded. (Doc. # 76). The Motion is

   now ripe for review.

   II.   Discussion

         In the Motion, Aviles argues that Amendment 794 to

   U.S.S.G. § 3B1.2(b) allows this Court to reduce his sentence.

   (Doc. # 73). The United States counters that “Amendment 794

   of the U.S.S.G went into effect on November 1, 2015, over two

   years prior to defendant’s sentencing,” and is therefore

   inapplicable. (Doc. # 76 at 2). The Court concludes that it

   has no basis to reduce Aviles’s sentence.

         A term of imprisonment may be modified only in limited

   circumstances. 18 U.S.C. § 3582(c). One such exception arises

   when a defendant was “sentenced to a term of imprisonment

   based on a sentencing range that has subsequently been lowered

   by the Sentencing Commission[.]” 18 U.S.C. § 3582(c)(2).

         Aviles argues that his sentence may be reduced under

   Amendment 794 to the Sentencing Guidelines. (Doc. # 73).

   Although Amendment 794 altered guideline ranges for certain

   offenses,    it   became   effective      November    1,     2015.      U.S.

   Sentencing   Guidelines    Manual       app.   C,   amend.    794    (2015).

   Aviles was sentenced on January 23, 2018, over two years after

   the amendment became effective. (Doc. # 97). Thus, even if

   the crime for which Aviles was sentenced was impacted by the



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   Amendment, any changes to the guidelines were already in place

   by the time he was sentenced by this Court. As Aviles offers

   no other basis for the Court to reduce his sentence, the

   Motion is denied. See United States v. Jackson, No. 2:15-cr-

   20150-001, 2019 WL 4228896, at *1 (W.D. Tenn. Sept. 5, 2019)

   (denying a motion to reduce sentence after determining that

   the   defendant   had   “already   received   the   benefit”   of   an

   amendment to the Sentencing Guidelines).

         Accordingly, it is

         ORDERED, ADJUDGED, and DECREED:

         Defendant Ignacio Aviles’s pro se “Motion to Request Two

   Level Reduction Under U.S.S.G. § 3B1.2(b)” (Doc. # 73) is

   DENIED.

         DONE and ORDERED in Chambers, in Tampa, Florida, this

   16th day of October, 2020.




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